       Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 1 of 44 Page ID #:1
                                                                ~.




   MARK HEZINGER
  (Address and c                           re a
   In Pro Per ~ ~ ~ ~                     ~~ -~                         2Q~~ J~~~ ~4 P~ 3~ SS
                        ~       r ~ ce.
            CAS                    S ~ C~- ~aa~.
                                                                         I'~




                                           UNITED STATES DISTRICT COURT

                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                        ,~°    ~--
       Mark Hezinger
                                                           COMPLAINT FOR INJUNCTIVE RELIEF AND
                      Plaintiff,                           DAMAGES

              vs.

       United States Attorney's Office for the Central

       District of California

       National Security Division, Department of Justice

       Federal Bureau of Investigation

       Department of Homeland Security

       Los Angeles Police Department
                       Defendants
                                                                                          ~~~~~
                                                                                       ~, ~~,~ -   ZUi~

                                                                                     CierK, US District Court
                                                                                          COURT 4E12




                                                           Dated this 4th day of June, 2018




~,..



                                                                               GES)- 1
                                    COMPLAINT FOR INJUNCTIVE RELIEF AND DAMA
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 2 of 44 Page ID #:2




1            COMPLAINT FOR INJUNCTIVE RELIEF and DAMAGES

2       This is an action under the Freedom of Information Act/Privacy Act, 5
3
     U.S.C. § 552a, and the California Public Records Act, to order the
4
     production of agency records concerning the plaintiff, Mark Hezinger, which
5
     defendants above have improperly withheld from plaintiff.
6
        i 2. Jurisdiction and Venue. This court has jurisdiction over this action
7
8    for all defendants except the Los Angeles Police Department(LAPD)

 9   pursuant to 5 U.S.C. § 552(a)(4)(B) and the residency of the plaintiff. For
10   defendant LAPD, this court has jurisdiction and venue under the California
11   Public Records Act (true, yes?).
12       i 3. Plaintiff. Plaintiff, Mark Hezinger, is a resident of Los Angeles,
13   California, an American citizen, and is the requester of the records which
14
     the defendants are now withholding. Identifying documents for the plaintiff
15
     redacted.
16
         i 4. Plaintiff has requested this information for injunctive, declaratory
17
     and monetary relief from massive civil rights violations from law
18
19   enforcement misconduct resulting from what the plaintiff suspects is

20   extreme carelessness in the enactment of watch lists and subsequent and
21   ongoing excessive law enforcement behavior directed towards himself.
22       i 5. Prompt and expedited release of the information withheld by the
23   defendants is essential to halting this behavior that is target and good
24   cause will be detailed below in the immediacy section.
25
         i 6. Defendants. Defendant United States Attorney's Office of the
26
     Central District of California (subsequently USALA), which includes a
27
     branch of the Department of Justice National Security Division within it, is
28


                                             1
       Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 3 of 44 Page ID #:3




 1     an agency of the United States and has possession of records that plaintiff
 2     seeks.
 3         i 7. Defendant National Security Division, Department of Justice
 4 (subsequently NSD), is an agency of the United States and has possession
 5     of records that plaintiff seeks.
 6
           i 8.The Federal Bureau of Investigation (FBI) is a federal agency and
 7
        has records the plaintiff seeks.
 8
           i 9. The Department of Homeland Security (DHS)is a federal agency
 9 ~
       and has possession of records that the plaintiff seeks.
10
           i 10. The Los Angeles Police Department(LAPD) is a local agency and
11
12     has records the plaintiff seeks.
13         i 11. Other federal agencies which have played a part in the plaintiff's
14 ~ FOIA/PA requests are the Department of Justice Executive Office of United
15     States Attorneys (subsequently EOUSA), which handles FOIA requests for
16     US Attorneys nationwide, and the DOJ Office of Information Policy
17
       (subsequently OIP), which adjudicates appeals.
18
           i 12. Plaintiff has submitted multiple FOIA/PA requests to the federal
19
       agency defendants which have advanced through the appeal process, and
20
       has sent an ignored California Public Records Act request to defendant
21
       '~, LAPD, and will therefore divide this complaint into multiple claims.
22
23         i 73. Claim 1 will cover request EOUSA-2018-000876 directed toward
24 ~ defendant USALA.
25         i.14 Claim 2 will cover the DOJ-AP-2018-000110 OIP remand decision
26 ~ (from FOIA/PA request EOUSA-2017-002544) directed towards defendant
27     USALA.
28



                                               2
       Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 4 of 44 Page ID #:4




 1         i 15. Claim 3 will ask the court to reverse the FOIA/PA appeal decision
 2      DOJ-AP-2017-4572 (from request EOUSA-2017-001272) directed towards
 3      defendants USALA and NSD.
 4         i 16. Claim 4 will ask the court to reverse the appeal decision DOJ-
 5      AP-2017-003648 (from FOIA/PA request 17-091) directed towards
 6
        defendant NSD.
 7 ~
           i 17. Claim 5 will ask the court to reverse the appeals of 8 FOIA/PA
 8
        requests directed towards defendant FBI.
 9
           i 78. Claim 6 will ask the court to reverse appeal decision 2017-
10
        HQAP-00272 (from FOIA/PA request 2017-NPFO-00531) and cover all
11
12      related FOIA/PA requests directed toward defendant Department of
13      Homeland Security (DHS).
14         i 19. Claim 7 will cover an ignored California Public Records Act
15      request directed towards defendant LAPD.
16         i. 20. Claim 8 will provide context and immediacy to the plaintiff's
17
       complaint.
18
           i. 27. The complaint will conclude with final requests for the court.
19
20
21
           Claim 1. EOUSA-2018-000876. Plaintiff argues for immediate release
22
23 ~, of records from defendant USALA due to no response from USALA to his
24     FOIA/PA request of November 24, 2017.
25         1.2. On November 24, 2017, by using the https://
26     foiaonline.reaulations.g~ website,(subsequently FOIAonline), plaintiff
27
       followed an authorized FOIA/PA request process and requested from
28
       defendant USALA records about himself.

                                              3
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 5 of 44 Page ID #:5




 1       1.3. On February 1, 2018, an acknowledgement letter with tracking
 2   number EOUSA-2018-000876 was sent to the plaintiff from the Executive
 3   Office of United States Attorneys(EOUSA), which handles FOIA requests
 4   for USALA. Plaintiff points out that the response itself was not issued
 5   within 20 days as required by 5 U.S.C. § 552a.
 6
         1.4. Nothing further has happened. The plaintiff asks the court to
 7
     require defendant USALAto honor the request in full.
 8
 9
10
11       Claim 2. Claim 2 will demonstrate that defendant USALA has not
12   responded to a remand decision issued by the Department of Justice Office
13   of Information Policy (OIP) under appeal tracking number DOJ-
14
     AP-2018-000110 (from EOUSA-2017-002544),and therefore the court
15
     should decide to order defendant USALA to immediately release all records
16
     queried by the plaintiff under FOIA/PA request EOUSA-2017-002544. A
17
     timeline follows.
18
         2.2. On August 8, 2017, by using the FOIAonline website, plaintiff
19
20   followed an authorized FOIA/PA request process and requested from
21   defendant USALA, through the Executive Office of United States Attorneys
22 (EOUSA), access to specific records generated about himself by the
23   defendant USALA. This request was assigned tracking number
24   EOUSA-2017-002544 (subsequently -002544).
25
         2.3. Plaintiff attached additional documents within FOIAonline as
26
     evidence to support the text of -002544, including his first FOIA/PA request
27
     (a request not covered under -0002544, and therefore ~ directly litigated
28
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 6 of 44 Page ID #:6




 1   in this claim 2, but rather in the following claim 3), also a photo of himself

2    hand delivering this first request to the 12th floor window of the defendant
3    USALA(why didn't he smile!), and lastly a document to attempt to inject a
 4   bit of whimsy in his life that is being severely abused by overzealous law
5    enforcement. It is important to note that the purpose of including the
6    previous request and the photo evidence of its delivery as supporting
     documents of -002544 was~ to litigate the content of that previous
 8
     request within -002544 but rather to provide evidence of the likelihood that
 9
     USALA did create records that should be released to the plaintiff under
10
     request -002544.
11
12      2.4. By letter dated September 20, 2017, plaintiff was denied access to
13   the requested information by EOUSA on the grounds that it was a duplicate
14   to other earlier FOIA/PA requests made by the plaintiff.
15       2.5. On October 4, 2017, the plaintiff appealed through FOIAonline. An
16   email response assigned this appeal tracking number
17   EOUSA-2018-000009.
18
         2.6. Oddly, multiple tracking numbers have been assigned to this
19
     appeal.
20
         2.7. On October 10, 2017, The Office of Information Policy (OIP)
21
     acknowledged the appeal and assigned tracking number DOJ-
22
23   AP-2018-000110 (from -002544).
24       2.8. Most mysteriously, since to his knowledge plaintiff has never
25   received communication about it, an additional tracking number,
26   EOUSA-2018-000116 (-000116) was created within FOIAonline about this
27   same appeal. Screenshots are available which include 2 blank emails
28
     attached within -000116 referring to the OIP -000110 tracking number.


                                            5
        Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 7 of 44 Page ID #:7




 1         2.9. On November 22, 2017, a full remand by OIP was issued under

 2 ~ tracking number DOJ-AP-2018-000110.
 3         2.10. Irregularities abound in the handling of the plaintiff's appeal of
 4     -002544 by EOUSA and OIP. Appeal tracking number -000009 is not
 5     searchable in FOIAonline and is presumed by the plaintiff to be a discarded
 6     appeal tracking number that was created when plaintiff used FOIAonline to
       appeal -002544. The only evidence of this tracking number is a -000009
 8
       acknowledgement email.
 9
           2.11. Appeal number -000110 as it exists within FOIAonline is devoid of
10
       attachments or documentation. That means the documents electronically
11 '
12     sent to plaintiff with the -000110 tracking number are missing from
13     FOIAonline. The plaintiff sincerely hopes that was not done on purpose.
14     Screenshots available.
15         2.12. There has been no response from USALA, or EOUSA on behalf
16     of USALA from the DOJ-AP-2018-000110 OIP remand decision issued
17
       November 22, 2017.
18
           2.13. Conclusion of claim 2 discussing appeal DOJ-AP-2018-000110
19
       (from FOIA/PA request -002544).
20
           2.14. Defendant USALA has not responded in any way to the
21
       November 22, 2017 Office of Information Policy remand decision issued
22
23
       under tracking number DOJ-AP-2018-000110, and therefore the court

24     should order that USALA release all records to the plaintiff covered under
25     request EOUSA-2017-002544.
26         2.15. Also, based on the description of the rat's nest of tracking
27 '~, numbers above, if EOUSA-2017-000116 is considered the active tracking
28     number that organizes a response to the -000110 remand decision,
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 8 of 44 Page ID #:8




1    defendant USALA (through EOUSA acting on behalf of USALA) has taken

2    no action and has neither released records the plaintiff seeks in response
3    to the November 22, 2017 OIP remand decision or communicated any
4    rationale to deny the release of records the plaintiff seeks.
5       2.16. Therefore the plaintiff asks the court to decide that USALA
6    release all records queried by EOUSA-2017-002544 to the plaintiff as
     required by 5 U.S.C. § 552a.
8
 9
10
         Claim 3. Appeal DOJ-AP-2017-4572. Plaintiff requests injunctive relief
11
12   and the production of records from defendants USALA and NSD for his
13   original FOIA/PA request for self specific records.
14       3.1. This request, hand delivered to defendants USALA and NSD on
15   December 19, 2016, was completely ignored, and plaintiff asks the court to
16   consider summarily ruling in favor of the plaintiff and order the defendants
17   to release all documents concerning himself.
18
         3.2. This FOIA/PA request from the plaintiff hand delivered to the
19
     defendants USALA and NSD for records has been merged into appeal
20
     tracking number DOJ-AP-2017-4572 (from EOUSA-2017-001272). Several
21
     other tracking numbers all concerned with the plaintiff using FOIA/PA to
22
23
     query the defendant USALA/NSD for self-specific records exist and have

24   been merged into the appeal -004572(from -001272). These tracking
25   numbers include MRU-FOIA58-87, EOUSA-2017-000279,
26   EOUSA-2017-000500, EOUSA-2017-000501, FOIA-2017-000900, appeal
27   DOJ-AP-2017-003392, and resulting EOUSA-2017-001272. Eventually
28


                                            7
      Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 9 of 44 Page ID #:9




     ~ appeal DOJ-AP-2107-4572(from -001272) was adjudicated by OIP on June
2 ~ 15, 2017, and given a disposition of affirmed on appeal.
3        3.3. A timeline follows:
4        3.4. On December 19, 2016, plaintiff hand delivered a FOIA/PA request
5    to defendant USALA/NSD at its front facing 12th floor window on 312
6    Spring St, Los Angeles, CA 90012. (It's important to note for both this
     current claim 3 and also the following claim 4 of this complaint that the 15th
8
     floor NSD section was listed on this request.)
 9
         3.5. On February 1, 2017, the plaintiff, via certified mail, mailed a
10
     d uplicate of his hand delivered request to defendants USALA and NSD. To
11
12   the plaintiff's best ability to discern, this request was also apparently

13    ignored by the defendants.
14       3.6. On March 3, 2017, the plaintiff submitted a FOIA/PA request for
15    self-specific records through askDOJ~usdoj.aov.
16       3.7. On March 6, 2017, this request was acknowledged by the Assistant
17    Director of DOJ Logistics Management Facilities and Administrative
18
      Services Staff, Justice Management Division, given tracking number MRU-
19
      FOIA58-87 and referred to EOUSA.
20
         3.8. This is the first acknowledgement the plaintiff received, and it was
21
      clearly in response to the March 3 email sent by the plaintiff, and was not
22
23
      from EOUSA.

24        3.9. On March 8, 2017, in its first correspondence with the plaintiff,
25    EOUSA assigned tracking number EOUSA-2017-000279 to the March 3
26    2017 request and asked the plaintiff to address a deficiency in the request
27    by submitting a notarized certification of identity.
28
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 10 of 44 Page ID #:10




 1       3.10. On March 15, 2017, the plaintiff submitted via certified maid to
 2   EOUSA a notarized certification of identity (claim 4 will also refer to this
 3   action.). As part of the same mailing, the plaintiff also submitted additional
 4   data points to facilitate a search for records and also a nearly identical
 5   replica of his December 19, 2016 hand delivered request sent February 1,
 6   2017.
 7
         3.11. On March 30, 2017, EOUSA denied FOIA request
 8
     ~ #FOIA-2017-000900 from the plaintiff due to considering the information a
 9
     state or local matter.
10
         3.12. On April 5, 2017, plaintiff appealed the -000900 decision through
11
12   FOIAonline. The plaintiff's appeal reasoned that records in a federal

13   component of the United States are subject to FOIA, federal records are
14 ~ federal records, after all.
15       3.13. On April 6, 2017, the appeal was acknowledged by OIP and given
16   tracking number DOJ-AP-2017-003392.
17       3.14. On April 25, 2017 OIPadjudicated -003392 and issued a f~.1.
18
     r m n of the FOIA request back to EOUSA.
19
         3.15. On May 8, 2017, the plaintiff wrote to EOUSA to inquire about
20
     when it planned to respond.
21
         3.16. On June 5, 2017, the remand decision was acknowledged by
22
23
      EOUSA and given a new tracking number to organize the plaintiff's request

24   for records: EOUSA-2017-001272. The plaintiff asks the court if the 20 day
25    period mandated by FOIA law pertains to remands. If so, the deadline was
26    missed.
27       3.17. On June 9, 2017, a search was performed under -001272, and
28 I I EOUSA stated no responsive records were found.
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 11 of 44 Page ID #:11




1         3.18. On June 9, 2017, the plaintiff appealed through FOIAonline. The

2    ~ appeal challenges the concept that fusion centers can be re-segregated
3 ; into individual component ownership of records for FOIA purpo
                                                                  ses and that I,
4    no responsive records existed within USALA itself.
5        3.19. On June 13, 2017, the appeal was acknowledged and given
6    tracking number DOJ-AP-2017-004572.
7
         3.20. On June 15, 2017, OIP adjudicated -004572 and affirmed
8
      EOUSA's finding of no responsive records.
9
          3.21. To summarize the text of the plaintiff's June 9, 2017 appeal, the
10
      plaintiff makes the claim that the defendants USALA and NSD cannot
11
12    escape responsibility for participating in the fusion center system, that such
      responsibility should be clarified as the defendants owning the records        ',
13
14 stored in such a system it helped create and can use to view records at will.
15 Since the defendants are a federal agency, its records are subject to query
16 and release under FOIA/PA law. Secondly, the plaintiff inquired about
17    records generated by USALA itself and found it implausible that none
18
      existed due to the nature of the hand delivery of his original request by the
19
      plaintiff on December 19, 2016.
~o
         3.22. The plaintiff wishes to expand his argument about the fusion
21
      center system for the court. Records serve the purpose of informing the
22
23
       readers who view them. The plaintiff does not see how the defendants

24     USALA/NSD, a federal agency, whose employees could view records
25 within a sanctioned information sharing system, presumably by using
26 required security permissions, accessed by using hardware owned by
27 defendants USALA/NSD, could claim "not our records" and claim that the
28     records it could consume and fully use, records which can influence

                                              10
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 12 of 44 Page ID #:12




1    decisions and actions taken by the defendant, were somehow exempt from
2    FOIA.
3        3.23. The plaintiff used the term "co-created" to describe the
4    defendant's ownership of the fusion centers which store law enforcement
5    records. The plaintiff contends that this term is completely accurate and
6
     should be used to assess ownership of records in the digital age.
7
         3.24. The plaintiff also contends that there is a negative characteristic
8
     to information sharing over a shared network that is similar regardless if the
 9
     network is a social network like Facebook or a fusion center which
10
     coordinates and distributes information to the law enforcement community.
11
12   This characteristic is a simultaneous obscuring of the original source of the

13   information and the events and motivations that created that information,
14   but an amplification of the seeming validity of the information through
15   presenting and replicating the information a potentially infinite number of
16   times in a digital format to employees, people, whose job isn't to challenge
17   the validity of information they view.
18
         3.25. The plaintiff argues for the court that his experience of excessive
19
     law enforcement surveillance and operations indicates that there are not
20
     adequate controls to prevent predictable violations of the 4th and 14th
21
     Amendments of the Constitution.
22
23       3.26. These violations are predictable due to the element of "fake
24   news" within watch lists at least partially created by an official standard of
25   whim ("if you see something, say something") or potential bias or the frailty
26   of human judgment.
27
28



                                              11
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 13 of 44 Page ID #:13




1        3.27. These violations are predictable due to an apparent expansion of

2 ~ undercover police activity directed towards U.S. citizens unbeknownst to
3 ahem.
4        3.28. These violations can be considered predictable when the
5 ~ amplification effects of shared networks, unhindered by distance or context
6
     or requirements to verify accuracy, impact those who consume the
7
     information, from law enforcement on the ground or by Department of
8
     Justice components required to perform oversight of law enforcement
 9
     practices.
10
         3.29. These violations of the requirements of the Constitution are
11
12   predictable when a "watch list", viewed by a well funded law enforcement

13   community, a community that is in present times exhorted constantly to find'
14   bad people before they offend, is hidden behind law enforcement and
15   national security exemptions to FOIA and not subject to oversight to ensure
16   accuracy. Such a state of affairs can turn a "watch list" into a "target list".
17
         3.30. Lastly, the arguments below, in claim 8, which will detail only a
18
     small portion of the psychic terror the plaintiff has experienced while being
19
      hunted by American law enforcement, is of sufficient urgency to justify a full
20
     review by the court of records on the plaintiff. How did this happen? In
21
     America?
22
23       3.31. Therefore, the plaintiff asks the court to reverse the June 15

24   decision.
25
26
27        Claim 4. This claim will argue for the court that the final July 3, 2017
28    disposition of FOIA/PA appeal DOJ-AP-2017-003648 (from FOIA/PA


                                            12
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 14 of 44 Page ID #:14




1    request 17-091), administered by the Department of Justice Office of
2    I nformation Policy (subsequently OIP) is incorrect.
3        4.2. Therefore the plaintiff will argue that all records covered by FOIA/
 4   PA request 17-091, querying the National Security Division of the
5    Department of Justice (subsequently NSD), for all self specific records
 6
     concerning the plaintiff, Mark Hezinger, should be released to the plaintiff.
 7
          4.3. The -003648 July 3 2017 appeal decision from OIP affirmed on
 8
     modified grounds the April 20, 2017 correspondence the plaintiff received
 9
10
     from the email address nsdfoia~usdoj.~ov that there were no records

11   responsive under FOIA to the plaintiff's original March 3, 2017 FOIA/PA
12   request 17-091 for all records about himself. The inl .reason cited within
13   the -003648 adjudication by OIP on July 3, 2017 was that there was n.4
14   notarized certification of identity provided to NSD, and that safeguards
15   written into the Privacy Act could not allow the release of non-public
16
     ~' information to the plaintiff.
17
          4.4 On the contrary, the facts demonstrate that the plaintiff provided a
18
     notarized certification of identity to the defendant NSD to meet the
19
     requirements of a different FOIA/PA request(EOUSA-2017-001272/appeal
20
21   DOJ-AP-2017-4572, discussed in claim 3), with the only difference being

22   the Los Angeles address of a satellite location of NSD versus its
23   headquarters in Washington DC.
24        4.5. The plaintiff offers for the court below a full timeline of events and
25   arguments to support his claim:
26
          4.6. On March 3, 2017, plaintiff emailed the email address
27
     nsdfoia~usdoj.gov and requested to see his entire file under FOIA/PA. The
28
     email queried the US Attorney General, NSD, EOUSA, and USALA

                                             13
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 15 of 44 Page ID #:15




 1   including senior staff of the NSD satellite division housed within USALA
 2 ~ while including (but not limiting the request to) some of the addresses
 3 ~ where he had noticed surveillance of himself.
 4      4.7. On March 9, 2017, plaintiff received an acknowledgement from the
 5
     same email address nsdfoia~doj~, signed by an Arnetta Mallory,
 6
     Government Information Specialist, assigning tracking number FOIA/PA
 7
     17-091 and denying the plaintiff's requests for expedited processing and a
 8
     fee waiver.
 9
10      4.8. On April 20, 2017, the plaintiff received an unsigned email from the
11 ~ same nsdfoia~usdoj.gov email address stating that the files of the
12   Counterintelligence and Export Control Section, the Counterterrorism
13   Section, and the Office of the Assistant Attorney General Section were
14   searched and no records responsive to FOIA were found. The email also
15   included language about exclusions to FOIA due to law enforcement and
16
     national security.
17
         4.9. On April 20, 2017, later that same day, plaintiff appealed through
18
     FOIAonline. Beyond the technicalities, the basic point contained within the
19
20   plaintiff's appeal is that there cannot be and has never been any
21   justification to cite a law enforcement or national security exemption.
22       4.10. On April 21, 2017, the appeal of 17-091 was acknowledged and
23   assigned tracking number DOJ-AP-2017-003648 by OIP.
24
         4.11. On July 3, 2017, OIP decided -003648 and affirmed, on modified
25
     grounds, NSD's action on the plaintiff's 17-091 request. The onlX reason
26
     cited was the plaintiff had not submitted notarized proof of identity under
27
28


                                           14
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 16 of 44 Page ID #:16




1 ~ penalty of perjury
                       to NSD. No national security or law enforcement

2 ~ exemptions to FOIA were cited or affirme
                                             d in this -003648 decision.

3       4.12. Plaintiff disputes the reasoning behind this decision:
4
        -First, plaintiff submitted identifying information on his request 17-091.
5
     -Second, a lack of certification of identity was not raised by NSD as it
6
  considered and answered 17-091 on April 20, 2017. It was only raised by
7
8
     OIP in the July 3 2017 -003648 appeal decision.

 9       -Third, to satisfy the requirements for EOUSA to process a different
10   FOIA/PA request, namely EOUSA-2017-001272/appeal DOJ-
11   AP-2017-004572 (see claim 3), plaintiff sent a notarized certification of
12  identity on March 15, 2017, received March 23, 2017, to NSD and USALA
13
   (administered by EOUSA)via a mailing delivered by USPS certified mail
14
     tracking number 70163560000017348421.
15
         4.13. The plaintiff asserts that the mailing of the notarized certification
16
17
     of ID that was received on March 23, 2017 to serve the requirements of the

18 Privacy Act for the request group -001272/-004578(claim 3), which also
19 included new correspondence from the plaintiff
                                                  with new dates to support a

20 thorough search, and a copy of the January 30 resubmission that queries
21    USALA and NSD, was indeed sent to the National Security Division, since i~
22    has always been named in the FOIA requests and it has offices at USALA.
23
         4.14. This mailing is now stored in the plaintiff's FOIAonline account
24
      under tracking number -001272 as a supporting file. There is a date stamp
25
      of March 27, 2017 on this submission, and the certification of identity are
26
27
      the last two pages of it.

28


                                            15
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 17 of 44 Page ID #:17




 1         4.15. The plaintiff asserts that OIP, adjudicator of appeals to NSD, had
2    knowledge of the certification of identity submission to NSD/USALA before
3 deciding -003648(17-091) on July 3, 2017.
 4         4.16. OIP administered both appeals of the FOIA/PA requests
5    discussed in this claim: the appeal of DOJ-AP-2017-003648 (from FOIA/
 6   PA 17-091)(the relevant request to the current claim of this complaint) and
     the appeal DOJ-AP-2017-004572 (from EOUSA-2017-001272)(discussed
 8
     in claim 3).
 9
           4.17. OIP decided DOJ-AP-2017-004572 (from-001272)first, on June
10
11   15, 2017, and made no mention of a lack of certification of identity.
12   Obviously, because one was provided.
13         4.18. OIP decided DOJ-AP-2017-003648 later, on July 3 2017, and
14   cited a lack of certification of identity. OIP regularly adjudicates FOIA
15   appeals for NSD, it cannot claim ignorance of the submitted cent. of ID.
16
           4.19. In summary, these are the points the plaintiff makes to dis p ute the
17
     disposition of appeal -003648(from 17-091), a disposition that claims no
18
     notarized certification of identity was provided to defendant NSD, and to
19
2o   request that the court decide to have NSD (and the other parties, including

21   the Assistant Attorney General and USALA) release records about the

22   plaintiff:
23     1. No mention of a lack of certified identity was made by NSD in its April
24           20 2017 correspondence which stated that there were no responsive
25
             records.
26
       2     17-091 listed NSD, USALA, the Attorney General, and the senior staff
27
             of the National Security Division of USALA. b) The group of FOIA/PA
28



                                             16
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 18 of 44 Page ID #:18




1         requests consolidated as EOUSA-2017-001272 queries USALA and
2         specifically the NSD division embedded within. The Plaintiff argues
3         that NSD queried on the two different requests are i      nti   I, that is,
4         there is no distinction between the NSD queried on 17-091 and the
5         NSD division residing at the Los Angeles offices of USALA queried on
6         the requests grouped into -001272.
7
      3. A notarized proof of identity was provided to NSD, named at its Los
8
          Angeles location, arriving March 23, 2017, concerning -001272,
9
          through the facts listed above.
10
      4. OIP knew or should of known that the plaintiff's identity was verified
11
12        to satisfy the requirements of the Privacy Act. OIP administered the
13        earlier final decision on -004572 (from -001272 and OIP remand
14        -003392). The decision on -004572(from -001272) was made on
15        6/15/17 and OIP cannot be ignorant of the certification of identity
16         provided, and therefore its decision on -003648 (concerning NSD)
17         which happened afterwards, later, on 7/3/2017, is in error.
18
        4.20. Therefore, the plaintiff asks the court to order the defendant NSD
19
     and any other components, including up to the Attorney General, named to
20
     release the queried records under FOIA/PA request #17-091.
21
22
23
24       Claim 5. FBI. The plaintiff submitted 10 FOIA/PA requests between the
25   dates of December 20, 2016 to May 25, 2017 to defendant Federal Bureau
26   of Investigation (FBI) via the FBI's eFOIPA website. In summary, the
27
     requests ask the FBI for all self specific records about the plaintiff, with
28


                                            17
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 19 of 44 Page ID #:19




1 ~ many of the requests including specific dates and locations to assist a
2 ~ search for records.
3        5.2. Defendant FBI responded identically 8 times to the requests(one
4    response apparently covered 2 plaintiff requests, and another request by
5    the plaintiff was redundant and ignored) by claiming there were no
6    responsive records, citing FOIA exemption (b)(7)(e) and PA exemption (j)
     (2). FOIA exemption (b)(7)(e) concerns the disclosure of law enforcement
8
     techniques and procedures for law enforcement investigations or
9
     prosecutions, or the disclosure of guidelines for law enforcement
10
     investigations if such disclosure could reasonably be expected to risk
11
12   circumvention of the law, and PA exemption (j}(2) covers material reporting
13   of investigative efforts pertaining to the enforcement of criminal law
14   including efforts to prevent control or reduce crime or apprehend criminals.
15       5.3. Plaintiff filed the following 8 appeals to the responses by the FBI:
16               DOJ-AP-2017-003107 (from request No. 1363607)
17               DOJ-AP-2017-003108 (from request No. 1368513)
18
                 DOJ-AP-2017-003780 (from request No. 1371920)
19
                 DOJ-AP-2017-003822 (from request No. 1372007)
20
                 DOJ-AP-2017-003824 (from request No. 1372174)
21
                 DOJ-AP-2017-003920 (from request No. 1372203)
22
23
                 DOJ-AP-2017-003921 (from request No. 1372215)
24                DOJ-AP-2017-004578 (from request No. 1375595)
25       5.4. Plaintiff argued in all of his appeals that there cannot be any
26   justification for the FBI to cite exemptions (b)(7)(e) and/or (j)(2).
27       5.5. OIP adjudicated the appeals and affirmed the decision of the FBI in
28    all 8 appeals.
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 20 of 44 Page ID #:20




1        5.6. The plaintiff states for the court that he listed actual dates and
2    events on all of his requests. Although the plaintiff could never ascertain for
3    certain (obviously) which law enforcement component was involved, nor
 4   can he claim a 100 percent accuracy rate, if the FBI was involved to allow it
5    to hide behind a Glomar wall is wrong. In particular, the plaintiff is very
6    confident in appeal DOJ-AP-2017-003108(from 1368513)that he was
7
     being driven and interrogated by an FBI agent.
8
         5.7. The plaintiff states for the court that there cannot be any
 9
     justification to cite the exemptions (b)(7)(e) and/or (j)(2), and therefore the
10
     plaintiff asks the court to reverse the decisions made on all 8 appeals.
11
12       5.8. The plaintiff is particularly interested in the events that led to him
13   being put on a watch list. The plaintiff discerned in January 2018 both that
14   he was on a watch list and the purported reason he was on a watch list
15   from harassing law enforcements agents in the hallway outside his own
16   front door.
17         •       -   ~       r   -ll•   -   -   • ~              -        --
                           t                            l-   1'   !    1!        •   t-
18
     he was put on a watch list is a vicious lie.
19
         5.10. Of particular interest to the plaintiff are the arguments he made in
20
     DOJ-AP-2017-003107 and -003108, in which the plaintiff raised the
21
     hypotheses that a FISA court was involved. The plaintiff noticed it took
22
23
     m uch longer for the powers that be to close these two appeals in

24   FOIAonline than the average time it took to close all of his other appeals of
25   FBI denials to his FOIA/PA requests. The plaintiff raises the question again:
26   was a FISH court was involved? If so, what was the justification used to
27   authorize surveillance? Because he had an Estonian friend? Because he
28
     was involved with a politically sensitive movie script and made a website


                                                  19
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 21 of 44 Page ID #:21




1    about it (thepartlylinefilm.com)? If a FISA court was involved, whatever the

2    justification ended up being to justify surveillance cannot be legitimate.
3        5.11. The plaintiff asks the court to order the FBI to release any
4 ~ records it has about the plaintiff.
5
6
7
         Claim 6. Department of Homeland Security. Appeal 2017-HQAP-00272
 8
     (from 2017-NPFO-00531). This claim will argue that the appeal decision
 9
     2017-HQAP-00272 concerning the reasonableness of the search
10
     performed by DHS is wrong. A timeline of events will be followed by
11
12   arguments from the plaintiff.
13       6.2. On June 9, 2017, plaintiff submitted his first FOIA/PA request via
14   email to the Department of Homeland Security's(DHS) National Protection
15   and Programs Directorate (NPPD), via nppd.foia~~dhs.gov.
16       6.3. On June 13, 2017, request was acknowledged by DHS via email to
17   the plaintiff and given tracking number 2017-NPFO-00531, including using
18
     language "We have queried the appropriate component of DHS for
19
     responsive records".
20
         6.4. On June 22, 23, and 24, 2017, the plaintiff submitted additional
21
     FOIA/PA requests via the FOIA form provided on the DHS website to the
22
23   DHS/NPPD with additional data points to facilitate a search.

24       6.5. On June 27, 2017, plaintiff received an email acknowledging
25    receipts of at least 2 of the additional submissions and consolidating them
26    into -00531.
27       6.6. On July 19, 2017, plaintiff emailed a notarized certification of
28 ~ I identity and mailed a hard copy to NPPD.


                                            20
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 22 of 44 Page ID #:22




 1       6.7. On July 21, 2017, plaintiff submitted further data points to facilitate
 2   a search under -00531, including referencing the content of the request
 3   submitted to USALA/NSD (see claim 3.)
 4      6.8. On August 3, 2017, DHS NPPD responded to the plaintiff with a
 5   determination that it could find not responsive records to the plaintiff's
 6
     -00531 group of FOIA/PA requests.
 7
        6.9. On August 5, 2017, plaintiff appealed on the grounds of both
 8
     inadequacy and no law enforcement exemption could be possible..
 9
        6.10. On August 16, DHS acknowledged the appeal and assigned it
10
     tracking number 2017-HQAP-00272.
11
12      6.11. On December 29, 2017 and again on January 2, 2018, plaintiff

13   followed up with DHS via email on the delay in deciding the appeal.
14      6.12. On January 3, 2018, The United States Coast Guard Office of the
15   Chief Administrative Law Judge, citing a memorandum of agreement with
16   the DHS General Counsel, reviewed 2017-HQAP-00272 and affirmed the
17
     August 3, 2017 determination.
18
        6.13. The plaintiff notes that the determination did not list the correct
19
     receipt date of the plantiff's first FOIA request that was grouped into
20
     -00531, citing an inaccurate date of June 22, 2017 as opposed to the
21
     correct (and acknowledged by DHS on June 13, 2017) receipt date of June
22
23   9, 2017.

24      6.14. The plaintiff also notes that a specific date, November 14, 2016
25   was listed. The plaintiff stresses that his request for records should, while
26   including the events on that date, not be limited to the events of that date.
2~      6.15. On January 5, 2018, plaintiff faxed the author of the DHS
28
     affirmation with a preliminary response. The plaintiff has since realized that


                                            21
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 23 of 44 Page ID #:23




1    he referred to a different, but absolutely true, surveillance event during the
2    same time period, a different event than the likely event referred to by DHS.~
3       6.16. In addition to the timeline above, the plaintiff has made significant
4    additional efforts to query DHS through FOIA/PA concerning himself and
5    the events listed on his requests. This effort involves FOIA requests to DHS
6    components the Office of the Secretary and Deputy Secretary, the Office of
7
     I nspector General, the Privacy Office, Federal Law Enforcement Training
 8
     Centers, United States Secret Service, and Science and Technology, which
 9
     oversees the RAND Homeland Security Operational Analysis Center.
10
        6.17. The plaintiff will elaborate and give a timeline on the FOIA/PA
11
12   request 2017-STFO-00082 sent to the DHS component Science &
13   Technology (S&T).
14      6.18. On July 16, 2017, the plaintiff used h~tps://www.dhs.gov/dhs-foia-
15   arivac -a -r    uest-submission-form, an authorized FOIA submission
16   process for all of DHS, to submit a FOIA/PA request to S&T concerning
17
     records about himself. It's concerned with threat assessment tools and with
18
     behavior from RAND employees the plaintiff observed using undercover
19
     surveillance signals while he was a member of the Angel City Chorale.
20
         6.19. On July 19, 2017, DHS S&T acknowledged the request and
21
     required a certification of identity.
22
23       6.20. On July 19, 2017, in the late evening, plaintiff emailed scans of
24   the identity requirements and mailed the hard copies the next day, July 20,
25 ~~~~~
26       6.21. On October 9, 2017, the plaintifF emailed a follow up to inquire as
27   to the status of the request.
28



                                             22
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 24 of 44 Page ID #:24




 1       6.22. On October 20, 2017, the plaintiff talked on the phone twice with
 2   a FOIA Privacy Office employee responsible for S&T requests. The first call
 3   was made by the plaintiff. In it, the FOIA officer stated that the plaintiff's
 4   certification of ID had never been received. The plaintiff disputed this, and
 5   the staff member panicked a bit on the phone. A few hours later, the officer
 6
     called back and said that the ID had been magically received that same
 7
     day, October 20, 2017. The plaintiff wishes he had challenged the officer
 8
     on this assertion, for, of course, the hard copy of the ID was never lost, it
 9
     was conveniently disregarded. See attached exhibit 3 for call logs of the
10
     two calls.
11
12      6.23. On October 23, 2017, DHS S&T formally replied back to the
13   plaintiff's request stating the plaintiff had not provided a sufficient
14   description of the records sought.
15      6.24. Back to the main timeline: the plaintiff gave two arguments in his
16   formal appeal 2017-HQAP-00272(from 2017-NPFO-00531): First, he's
17
     never, ever, ever been a threat of any kind, and therefore no law
18
     enforcement exemption to FOIA could be cited; second, the plaintiff
19
     contends, based on his significant and wide ranging efforts to query DHS
20
     about records and DHS's own language in its acknowledgement letter that
21
     it was querying the appropriate component, that DHS's search was
22
23   inadequate.
24      6.25. Plaintiff further argues that DHS's search was inadequate due to
25   all of the plaintiff's numerous FOIA/PA requests to many DHS components
26   being overseen by one centralized FOIA department, namely the Privacy
27   Office, which was itself queried with a FOIA/PA request regarding personal
28   records about the plaintiff.


                                             23
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 25 of 44 Page ID #:25




 1      6.26. Plaintiff also argues that the DHS Privacy Office is a well
2    functioning organization within DHS that knows how to search for records
 3   from any DHS component and has access to the technology and human
 4   contacts that allows it to search data across DHS easily. Therefore the
 5   basic statement that DHS makes that it "does not maintain a central
 6
     database on individuals" is out of date. In fact, for FOIA purposes, DHS
     does in fact practice an organized and centralized method of effectively
 8
     querying all of its records in all of its components.
 9
        6.27. The plaintiff points out that one of those FOIA requests, querying
10
     the Office of the Secretary, also served the purpose of alerting the Office of
11
12   the Secretary itself. The plaintiff argues that national security records have
13   been integrated so well across components, due to years of effort devoted
14   to the task, that a search is probably as easy as typing a name on a
15   keyboard into one program for the Office of the Secretary.
16      6.28. Plaintiff disputes the defendant classifying the vast quantity of
17
     data points provided as "speculation absent well founded allegations". For
18
     example, the plaintiff has endured so much surveillance that he has
19
     learned the undercover signal language that law enforcement uses when
20
     targeting an individual. The plaintiff managed to photograph the leader of a
21
     surveillance operation against himself while he was a member of the Angel
22
23   City Chorale in December of 2016, and he sent along the photograph to
24   defendant DHS. Plaintiff anticipates that records the plaintiff has queried
25   from defendants USALA and NSD in other claims within this lawsuit should
26   also refute the speculation characterization from defendant DHS.
27      6.29. Plaintiff argues that the importance of determining whether the
28
     defendant DHS is out of compliance with the 4th and 14th Amendments of


                                            24
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 26 of 44 Page ID #:26




 1   the Constitution and committing a civil rights violation makes a thorough
 2   search by DHS across components for records reasonable.
 3       6.30. Plaintiff also asks for the release of the memo that gave authority
 4   to the Coast Guard to be the United States component that decided his
 5   appeal. Why was that done? Is the Coast Guard involved in any other way?
 6
         6.31. Plaintiff notes that the Coast Guard cannot be impartial if it is a
 7
     component of DHS.
 8
         6.32. While acknowledging that exasperation is not a great reason to
 9
     abandon continuing the FOIA process with S&T, the plaintiff asks the court
10
     to either determine that the choice to ignore his request for months was
11
12   deliberate and incorrect in the face of the plaintiff providing a certification of
13   identity and order a search for records, or review his request and decide for
14   itself if the request was not specific enough in the context of this entire
15   complaint.
16       6.33. Therefore the plaintiff argues that there is enough justification to
17   require a robust search, and a ruling from the court as to the definition of a
18
     `robust search', for records concerning the plaintiff of III. Department of
19
     Homeland Security components that would create records connected with
20
     law enforcement or national security, regardless of how many that might
21
     be. And for the release of records found under such a search.
22
23       6.34. Plaintiff invites the court to take the opportunity to update the
24   "reasonableness" standard in DHS' FOIA practices in the direction of
25   greater transparency, especially in light of the need to reinforce the
26   constitutional standards for privacy. The plaintiff thinks such an update
27   should reflect the great technological progress made in data search.
28


                                            25
         Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 27 of 44 Page ID #:27




1
2
3            Claim 7. Los Angeles Police Department.
4            7.2. On April 11, 2017, plaintiff sent a letter to the Los Angeles Chief of
5        Police via certified mail, which arrived April 13.
6            7.3. Also on April 11, 2017, the same letter was sent to both the Los
         Angeles County Civil Grand Jury and the Los Angeles County District
8
     ~ Attorney.
9
     ~       7.4. The letter asks the LAPD to respond to the plaintiff under the
10
         California Public Records Act.
11
12           7.5. LAPD never responded to the plaintiff.
13           7.6. The plaintiff asks that the court require LAPD to at least
14       acknowledge the plaintiff's letter.
15           7.7. The plaintiff is well aware of the law enforcement exemption to the
16       California Public Records Act. The plaintiff states definitively that there is no
17       basis for any law enforcement investigation or the extensive surveillance
18
         that the plaintiff has suffered.
19
             7.8. Plaintiff asks the court to order LAPD to disclose records about the
20
         plaintiff, based on both the lack of response to the letter and/or other
21
         evidence of LAPD involvement in surveilling the plaintiff gleaned from
22
23
         records released by other defendants of this lawsuit.
24
25
26           Section 8. Argument for immediacy. Plaintiff will now show good cause
27       for court to provide expedited relief by recounting the events of both
28
         January 8, 2018 and January 11, 2018 that occured at the Federal District

                                                 26
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 28 of 44 Page ID #:28




1    Courthouse on 312 N Spring St, Los Angeles, CA 90012, as he believes
2    these events will add additional context. These events will be narrated in
3    first person:
 4       8.2.
5        I, Mark Hezinger, went to the courthouse on January 8, 2018 to begin
6    to learn how to file a FOIA lawsuit pro se. I arrived at the security station
7    and underwent the normal security precautions, including chit chat,
8    removing my shoes, having my bag x-rayed, being searched, and walking
 9   through the metal detector.
10
               brought with me my normal shoulder bag that resembles a
11
     briefcase. In it I had mistakenly brought something to court I never should
12
     have brought, a small screwdriver combo with 2 ends that have caps on
13
     them.
14
               use the phillips screwdriver end to change the blades on my small
15
16   pencil sharpener, but in retrospect, post 9/11/2001, I could imagine how the
17   marshals would consider this implement dangerous. The implement is
18   colored black and at first glance could resemble a pen. A photo of this
19   i mplement and evidence of its utility to me is attached as exhibit 8,1.
20        As I picked up my bag after the x-ray security search, to my surprise
21
     ' the marshals crowded around me expectantly to a distance of about a foot.
22
     '~ It turns out there was a reason for their behavior, but I was not yet aware of
23
     this reason.
24
           inefficiently made my way to the clerk station to pick up a packet on
25
     how to file. Entering a hallway, there were suddenly two beeps and I soon
26
27   walked by a person standing in the hallway that leads to the clerk station

28



                                            2~
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 29 of 44 Page ID #:29




 1   who appeared to me to be someone who knew who I was and was, for lack
 2   of a better word, leering at me.
 3       During this time at the clerk station I endured a surveillance operation.
 4    know this because I've spent the last two years enduring many
 5   surveillance operations, and I've learned the undercover signal language
 6   that law enforcement uses, which in its basic form is international. For
 7
     example, the signal to indicate that an officer has a target in view is rubbing
 8
     your head or playing with your hair, tipping the brim of your cap, or other
 9
     similar slight variations. An alternate can be touching the neck. I've seen
10
     this signal, with myself as the target being referred to, literally hundreds if
11
12   not thousands of times.
13       After a delay where the folks performing the op wanted to see what
14   would do, I eventually was invited to the counter and received a packet and
15   had it explained to me in a quite satisfactory way.
16       Since it was Monday, I then made my way to the pro se clinic. I was
17
     asked to fill out a simple intake form, and there's a small room with chairs
18
     and tables to write on for that purpose.
19
         It was there I discovered that I had brought the screwdriver, and was
20
     shocked, and threw it back into the bag. But I want to point out that such an'~
21
     i mplement normally would never be allowed into court, and I conclude that
22
23   in my case the screwdriver was DELIBERATELY LEFT IN THE BAG in the

24   hopes of catching me performing some act of violence with it.
25       All of these facts can be confirmed by the marshals manning the
26   security stations at the courthouse on those days.
27       The following Thursday, January 11, 2018, I went back to court for 2
28   reasons, first, to apologize and explain for the error (I regularly journal, use
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 30 of 44 Page ID #:30




 1   a pencil to write with, like sharp pencil tips, and I had thrown this implement
 2   along with my pencil sharpener into my bag for a cross country driving trip
 3   made to my parents in Chicago for Thanksgiving) and second, to hopefully
 4   be able to show evidence to the marshals that I have filmed on my smart
 5   phone of my twitter account being blocked. I have literally, by filming my
 6
     computer screen with my smartphone, produced evidence that I was
     blocked from tweeting. I struggle to find law enforcement who have an
 8
     objective view of me, and I hoped the marshals might be open to being a
 9
     witness to my current predicament.
10
         During this visit on January 11 to the court, my only purpose was to talk
11
12   to the marshals. The marshals were incredibly suspicious. I suspect they
13   were warned in advance about my arrival.
14       There are many, many more stories with lots of color and excitement
15   that I could recount. I have been enduring a vast attempt to destroy my life,
16   which spans multiple law enforcement agencies. The goal of this complaint
17
     is, first and foremost, to be believed. I've made the mistake of sharing this
18
     to friends and watched them become ex friends, to the point where I dare
19
     not share this with anyone. I can share with the court that the burden of
20
     knowing you are hunted and cannot get help, including from my own
21
     congressman, is a large one.
22
23        have other goals. I want proper financial redress for the suffering I've
24   endured. To have law enforcement's justification of its behavior towards
25   myself identified, reviewed, and repudiated. I want the financial penalty to
26   be culturally relevant and large enough to guarantee structural reform
27   within law enforcement and much, much greater oversight over undercover
28
     police activity.
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 31 of 44 Page ID #:31




 1        also challenge the judicial branch of government to affect change in
 2   law enforcement practices.
 3       I n my case, I suspect the term "watch list" should be more accurately
 4   labelled as a "target list". I think the characteristic of all internets or
 5   intranets, or, in this case, US law enforcement fusion centers, to present
 6
     mistaken or biased information as objective truth, simply by having it
     appear on a computer screen, is far too dangerous a temptation and
 8
     enticement for law enforcement(who are, after all, fallible humans, as are
 9
     we all) to ignore the constitutional protections and do actions that the
10
     constitution prohibits under the 4th and 14th Amendments.
11
12      8.3. Plaintiff chose to recount these two events for the court, events
13   which occured at the courthouse itself, because plaintiff believes they are
14   symbolic of his many experiences of an overzealousness, which, in these
15   recounted instances, have attempted to encroach upon his very ability to
16   seek redress under the law and the constitution. Plaintiff asserts that there
17
     are records which detail over these past 2+ years many direct, immediate
18
     threats to his reputation and freedom.
19
         8.4. The surveillance got to the point in January 2018 that the plaintiff
20
     learned why he was put on a watch list, because it was thrown in his face
21
     by law enforcement personnel outside his own front door. Apparently in July
22
23   2011, the plaintiff's former employer lied to police and told them he had
24   sexually harassed another employee.
25      8.5. This is egregiously false.
26       8.6. Additional content exists which will bolster the argument for
27   expedited relief at at ~~rvw.hezinaer~roiects.com and
28
     www.markhezinaer.com and the plaintiff's twitter account, @integralmark.
      Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 32 of 44 Page ID #:32




 1         8.7. The plaintiff attests for the court that he heard this phrase again
 2   and again in January of 2018 from surveilleurs: "we're worried about your
 3    mental health". At least once this line was delivered by a woman who had a
 4   sonic weapon in her backpack and used it against me. The plaintiff asks the
 5   court to consider the untenable danger to the constitution in allowing secret
 6    police to pretend to be mental health professionals.
 7
           8.8. On occasion the plaintiff cited a link to his blog in various FOIA
 8
      requests to defendants. The blog was originally at markhezinger.com.
 9
     Several months afterwards, the plaintiff first took down his blog (after losing
10
     a chance at a job when the employer performed a web search) and then
11
12    put it up again in 2018 but changed the URL to hezingerprojects.com.
13         8.9. Surveillance and threats to my freedom are ongoing. Plaintiff has
14   video evidence from Memorial Day weekend 2018. He called in and
15   described the events to the FBI.
16
17
18
           Additional points and conclusion.
19
           9.2 The plaintiff is particularly interested in a full accounting of his
20
      identity being officially added to a watchlist (if this happened) based on the
21
     events which occurred during his final days of employment at Internet
22
23 I~ Brands/CarsDirect.com, headquartered in EI Segundo, CA, in mid July to
24   August 1 of 2011. The plaintiff learned about the watch list through constan~
25   contact with surveillance officers attempting to intimidate him in January
26   2018 in the immediate surroundings of his residence. If the inferences that
27   surveillance officers made are true, that the plaintiff was added to a watch
28
     ~ 1 https://en.wikipedia.or~/wiki/Rosenhan experiment


                                                        31
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 33 of 44 Page ID #:33




 1   list during this time, then the plaintiff was defamed. Internet Brands made a
 2   false allegation of sexual harassment. EI Segundo police made a terrible
 3   choice and added the plaintiff to a watch list.
 4        9.3. Throughout his ordeal, the plaintiff has been asking "why??" If
 5   threat or mental health assessment profiling is a part of the reason, the
 6   plaintiff argues that these assessment profiling practices are unproven and
 7
     incredibly dangerous and the events he has suffered is evidence of a new
 8
     type of threat to civil liberties in the United States of America, the threat of
 9
     an advanced secret police culture misusing dubious target lists (misnamed
10
     watch lists) with dubious justifications, atl the while completely
11
12   unsupervised by the constitution, thus damaging the quality of life for
13   citizens of the United States. It is not an over exaggeration to equate such
14   behavior as similar to typical behavior by authoritarian regimes around the
15   world2. It is to the benefit of the country to have any profiles enacted on the
16   plaintiff without his knowledge released in order to facilitate a reassessment
17
     of the efficacy of such profiling.
18
          9.4. It is a spectacular double bind to attempt to share one's
19
     experiences with one's friends and have the improbability of them cause
20
     them to doubt your sanity, when in fact the plaintiff suspects and seeks to
21
     demonstrate that law enforcement somehow, due to some unknown
22
23   decision, is hunting you due to a mental health smear.
24        9.5. The plaintiff wrote letters to the City of Los Angeles and its mayor,
25   to the Los Angeles County District Attorney, and the Civil Grand Jury of Los
26   Angeles County. The plaintiff was forced to investigate options for political
27   asylum in January 2018, and applied for German citizenship. The plaintiff
28
     2 http://www.wired.co.uk/article/chinese-government-social-credit-score-privacy-invasion


                                                        32
      Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 34 of 44 Page ID #:34




 1    asks the court to consider all the different ways the plaintiff attempted to
 2   address what was happening to him and take them into account when it
 3   considers awarding damages to the plaintiff.
 4        WHEREFORE,
 5        9.6. Plaintiff asks the court to grant the plaintiff's requests to order
 6
     defendants to release documents.
 7
          9.7. Plaintiff asks the court to waive all fees that are normally permitted
 8
     to be charged while fulfilling FOIA/PA requests due to a failure of all
 9
     defendants to meet response deadlines. See Bensman v. Nat'l Park Serv.,
10
     806 F.Supp.2d 31, 42-43(D.D.C. 2011).
11
12        9.8. Plaintiff asks for costs and reasonable legal fees of 90 thousand
13   dollars in this action, as provided in 5 U.S.C. § 552(a)(4)(E).
14       9.9. Plaintiff asks for 400 million dollars in damages for the violations to
15   his privacy and the resulting threats to his liberty in the spreading of a
16   terrible defamation of his character throughout law enforcement and his
17
     neighborhood, the communities in which he lives, shops and interacts with
18
     others, the destruction of access to all avenues the plaintiff used to nurture
19
     community in his life, and asks to delegate to the court to determine the
20
     amount each component of the government should pay. In other words,
21
     400 million dollars is the size of the pie, and the court decides how big a
22
23   slice each component eats.
24       9.10. Plaintiff asks the court to grant other and further relief as may
25 ~ deem just and proper.
26       9.11. To give possible examples of the proper relief the court might
27 '~, grant, the plaintiff respectfully suggests that if any claim within
                                                                           this
28
     complaint fails to pass muster with the court, the plaintiff asks that the court


                                              33
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 35 of 44 Page ID #:35




 1   violation of privacy protections and order any relevant federal, state or local ~
 2   components to release records concerning the plaintiff in the interest of
 3   justice.
 4       9.12. Such relief might look like an order to have all defendants and
 5   other relevant as yet unnamed components check their records for every
 6   data point listed by the defendant in any FOIA/PA request, regardless of
     which component was originally queried with the data point. Or to have
 8
     USALA and/or DOJ get off its butt and go to work and provide a complete
 9
     accounting of what happened with the proper people doing it, in service not'
10
     of the plaintiff, but of the constitution. Another example is to specifically
11
12   examine DHS and demand reform, especially when the phrase "we have
13   q ueried the appropriate component" has proven to not be trustable.
14       9.13. Ultimately, the plaintiff challenges the court to use his case to
15   substantially challenge and change law enforcement practices for the
16   better. Watch list reform, for example. Transparency requirements for law
17
     enforcement with teeth on how they use undercover police, and what
18
     methods they can use.
19
         9.14. The plaintiff asks the court to award free security by law
20
     enforcement during the making of the movie The Party Line sometime in
21
     the future.
22
23      9.15. The plaintiff states for the court that he thinks that there are
24   effectively no protections against entrapment in America.
25      9.16. Without knowing for certain at the time of this filing whether they
26 ', were used in his case, predictive crime algorithms are a bunch of crap,
27 ~, abusive crap that renders privacy protections built
                                                           into the constitution,
28
     protections that were heretofore carefully and thoroughly protected by the


                                            34
     Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 36 of 44 Page ID #:36




 1   judiciary, into meaningless platitudes. If they were used, the court should
 2   take the opportunity to rule them unconstitutional and honor the basic
 3   privacy guarantees and tradition of presumption of innocence that most of
 4   us, American citizens, unconsciously trust is still true.
 5       9.17 Plaintiff asks for the court to order to an immediate halt any
 6
     surveillance tactics being practiced against the plaintiff.
 7
         It would be a severe tragedy if secret police abuse turned America into
 8
     something closer to Cuba. The plaintiff observes that the solution to law
 9
     enforcement's trust problem with the country at large is probably not to go
10
     undercover to avoid transparency.
11
12
                                                      Respectfully submitted,
13
14
15
16
                                                      Mark Hezing~
17
                                                     (address redacted)
18
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Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 37 of 44 Page ID #:37

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                                                                                                     ~'

          12/79/2016

          To:

          The United States Attorney's C

         Central District of California

         Attn: National Securify Division, Patrick Fitzgerald and Chris Grigg

         312 North Spring Street, 15th floor

          Los Angeles, California 90012

          Hef1o,

          My name is Mark Hezinger.

          am officially filing a request under the FOIA/Privacy Act 5 U.S.C. 552 to see any files you have
         created and updated about myself, Mark Hezinger.

           want to see everything you have on me. It's my file, please let me see it.

         The above text should be enough, but adhering to the form of FOIA requests, 1 will list some
         potential addresses and dates that might appear in any files about me. The following hints from
         me do not mean I am limiting my request in any way. To repeat for emphasis, I want to see
         everything.

         In events starting around late January or early February 2016 and ongoing to present day I have
         endured many occurrences of government surveillance. I think these events risked both my life
         and the protections I am afforded as a citizen of the U.S.A., such as my liberty, my ability to
         think for myself, and more.

         Below are some locations:

         The Afbertsons grocery store on Hillhurst, 90027. The address is 2035 Hillhurst Ave, Los
         Angeles CA 90027.
         There's obviously videotape that has captured what has happened, there are many employees
         of the store that know of the situation, now I want to see what you have documented about it.
         I've also left a letter with the manager of the store asking for $30 million in damages.

         Other grocery stores include Trader Joe's 2738 Hyperion Ave, Los Angeles, CA 90027 and the
         Vons 4520 Sunset Blvd, L,os Angeles, CA 90028.

         Any documentation about events or surveillance that occurred within the context of the regular
         rehearsals or performances of the Los Angeles choir named Angel City Chorale, which I perform
         in.
         Rehearsals were held at 11555 National Blvd, Los Angeles, CA 90064. Tie spring 2016 concert
         dates June 4th and 5th, 2016, and winter 2016 concert dates December 3rd and 4th, 2016 were
         held at 4350 Wilshire Blvd, Los Angeles, CA 90005. There was also a day long event called the


                                                 ~~
Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 39 of 44 Page ID #:39




 "Tour of Hope" the following Saturday, December ~ 0th at various locations in and around Los
 Angeles.

  think it's prudenfi to state I have a 12/4/2016 photo of a leader of the surveillance team at the
 concert venue, I've attached it to the end of this letter. There is also photographic evidence of
 others.

 ~►ny events of surveillance at my own address: 4319 Price St, LA, CA 90027 both #4, my own
 apartment, and, as a guess, any neighboring apartments within the building or in my immediate
 neighborhood.

 Any events in my neighborhood as i walked or ran.

 Any documentation of cyber spying in any form targeting my home computer, smartphone and
 my communications with others both domestically and internationally. This can include hardware
 such as my computer itself, wif devices, modems, etc.; software interventions such as exploiting
 zero day vulnerabilities to Mac OS or any other software or app; and all possible forms of my
 communication with others such as voice, email, Skype, Facetime, etc.

 Any documentation about events or surveillance in 2016 at any of the pot dispensaries !buy
 very small amounts of pot from. I have the addresses if you need them.

Any documentation about events that occurred at and near the Burbank offices of US
Representative Adam Schiff, 245 E. 41ive Avenue, #200, Burbank, 91X02 November of 2016.

More addresses:
200 Lincoln Blvd, Venice, CA 90291
1 ~ 300 Hartland St, Rforfh Hollywood, CA 91605
10914 S La Cienega Blvd near LAX, CA 90304
6628 Lankershim Blvd, North Hollywood, CA 91606
And one more private address in Glendale less than 5 miles away from me that fits the theme.

March 4,5,6 2016 wedding in San Diego, at the hostel 3790 Udall St.,San Diego, CA 92107,
wedding site 2303 Sheller island Dr San Diego CA 92106, and also the drive back to Los
Angeles.
~.AGMA a couple days later early Mach 2016. Griffith Park golf fVlarch 10, 2016

Are there file entries from earlier years before 2016? If so, I want to see them.

Please also include the results of any evaluations of me, for example (but not limited to)
psychological evaluations, second opinions, profile scoring using CVE (Countering Violent
Extremism) protocols.

25 bucks max for fees is fine. I believe electronic transmission of documents is much less
expensive. Please use my home email address, integralmark ~a'il.c_omam         to send the Elie to me
if this is the cheapest way to fulfill my request under the law I cited above. You should also
                                                                                                  use
my email address for any other communications with me.



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Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 40 of 44 Page ID #:40




 ! want a full accounting o~ this fiasco.

 Sincerely,


 Mark Hezinger

 Iderati~yin~ info~°rnation
 Fuil Name: Mark ~4erman Hezinger
 Aliases, or Previous fVa►~es: none
 Date of Birth: 08/01/1967
 Place of Bi~fih: Port Jefferson, NY


                            ~ r-rr;f;C ~~~

 www.markhezinger.eom

 Below is a photo of a suspected government operative, dressed in black, 12/4116, Wrishire
 United Methodist Church, Los Angeles




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`~'
        Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 41 of 44 Page ID #:41
                                                                                                             ~.~.
                                                                                      Statement for                -                          Account number                             Bill close date
                                                                                      MARK H. HEZINGER                                                   "                                Nov 10, 2017


                                                                                                           ~» ~"


 .~       Usage details

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 C
          Talk
                    The date and time corresponds to the local time where the mobile was located.
                    Date and time                       Number                           Description
 •                                                                                                                                                        Type                  Mtn            Amount
                    10/18/17, 12:07 PM                (912) 261-4512                    to BRUNSWICK/GA                                                   -                       7                 -
                    10/18/17, 1229 PM                 (202) 254-5700                    to WASHINGTON/DC
 ■                                                                                                                                                        -                       2
                    10/18/17, 3:44 PM                 (310) 383-6469                    to SNMN MRVS/CA                                                   -                       2                         -
      ~ , ~~~+++►►►1---0/18/17, 4:34 PM               (323) 912-1125                    to LOSANGELES/CA                                                  -                          5                      -
                       0/20/17, 622 AM                 (202) 254-5700                   to WASHINGTON/DC                                                  -                          3                      -
                   10/20/17, 1129 AM                   (202) 254-8999                   Incoming
                  10/20/17, 11:53 AM                                                                                                                                                 8
                                                       (323) 912-1125                   to LOSANGELES/CA                                                  -                          2                      -
                  10/20/17, 11:56 AM                  (747) 283-8419                    Incoming                                                          (F)                        2
                   10/20/17, 12:07 PM                 (747) 283-8419                    to BRBN BRBN/CA                                                   (F)                        2                      -
                  10/25/17, 4:59 PM                   (818) 450-2900                    to BRBN BRBN/CA                                                   -                          3                      -
                  10/26/17, 3:07 PM                   (818) 450-2900                   to BRBN BRBN/CA                                                    -                          4                      -
                  10/30/17, 5:51 PM                   (213) 550-9699                   to LOSANGELES/CA                                                   (F)                     3                       -
                  10/30/17, 5:57 PM                   8004004222                       1-800 #                                                            -                       5                       -
                  10/30/17, 6:03 PM                   (630) 857-9002                   to NAPERVILLE/IL                                                   -                      12                       -
                  10/31/17, 12:41 PM                  (714) 602-4853                   Incoming                                                           -                       1                       -
                  10/31 /17, 1:08 PM                  8004004222                       1-800 #                                                            -                       4                       -
                  11/O6/17, 1:30 PM                   (323) 687-0133                   to LOSANGELES/CA                                                   -                       2
                  11/09/17, 625 PM                    (630) 857-9002                   Incoming                                                           -                       8                     -
                 11/10/17, 7:33 PM                    (630) 857-9002                   to NAPERVILLE/IL                                                   -                      10                     -

                                                                                                                                                         Total:                 85               $0.00




         Text
         The date and time corresponds to Pacific Time (PST/PDT).
         Date and time                      Number                             Destination                                Direction                     Type                                  Amount
         10/13/17, 1:10 PM                  83 7401                            Directtoconsumer Shortcode                  Incoming                     Text
         10/14/17, 7:31 AM                  (213) 297-2575                     Losangeles, CA                             Incoming                      Text                                            -
         10/14/17, 7:31 AM                  (213) 297-2575                     Losangeles, CA                             Incoming                      Text                                            -
        10/14/17, 7:31 AM                   (213) 297-2575                     Losangeles, CA                             Incoming                      Text                                            -
        10/26/17, 6:40 PM                   (818) 363-0438                     Snfn Grhl, CA                              Outgoing                      Text                                            -
        10/30/17, 6:02 PM                   22 2669                            Directtoconsumer Shortcode                 Incoming                      Text
        10/30/17, 6:07 PM                  22 2669                             Directtoconsumer Shortcode                 Incoming                      Text                                          -
        10/31/17, 1:11 PM                  22 2669                             Directtoconsumer Shortcode                 Incoming                      Text                                          -
        10/31/17, 1:15 PM                  22 2669                             Directtoconsumer Shortcode                 Incoming                      Text                                         -
        10/31 /17, 1:15 PM                 22 2669                             Directtoconsumer Shortcode                Incoming                       Text                                         -
        11/02/17, 1:48 PM                  (408) 214-6503                      San Martin, CA                            Incoming                       Text                                         -
        11/06/17, 2:50 PM                  (310) 428-5406                      Smm~ Smm~, CA                             Outgoing                       Text                                         -
        11/06/17, 2:52 PM                  (310) 428-5406                      Smm~ Smm~, CA                             Outgoing                       Text                                         -
        11/06/17, 3:43 PM                  (310) 428-5406                      Smm~ Smm~, CA                             Incoming                       Text                                         -
        11/06/17, 3:43 PM                  (310) 428-5406                      Smm~ Smm~, CA                             Incoming                       Text                                         -
        11/06/17, 3:58 PM                  (310) 428-5406                      Smm~ Smm~, CA                             Outgoing                       Text                                         -
        11/06/17, 422 PM                   (310) 428-5406                      Smm~ Smm~, CA                             Incoming                       Text                                         -
        11/09/17, 7:19 AM                  3 9858                              Directtoconsumer Shortcode                Incoming                       Text                                         -

                                                                                                                                                        Total:                                  $0.00




        Data
       The date and time corresponds to Pacific Time (PST/PDT)
       Date and time                     Origin                                Service
       10/11/17, 10:59 AM                                                                                                                               Type                   MB            Amount
                                         -                                     Mobile Internet                                                          -                   0.7978                -
       10/11/17, 12:59 PM                -                                     Mobile Internet                                                          -                   0.0751
       10/11/17, 2:59 PM                 -                                     Mobile Internet                                                          -                   0.0087                  -
       10/11 /17, 4:59 PM                -                                     Mobile Internet                                                          -                   0.0166                  -
       10/11/17, 6:59 PM                 -                                     Mobile Internet                                                          -                   0.0869                  -




       Type: (A) Call Waiting (B) Call Forward (C) Conference Call (D) Duplicate (E) Data/Fax
                                                                                              (F) Mobile2Mobile (G) Voicemail (H) Free Calls (I) Intl Disc Cali (J) Intl Disc
       Call to Mobile (K) WPS Call (M) AnyMobile (R) Roaming (T) T-Mobile Number (V)                                                                                                                 Page 4 of 9
                                                                                        myFaves Call (W) Wi-Fi Call (X) T-Mobile QHome Call (Y) Subscription (Z) One-
       time Purchase
Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 42 of 44 Page ID #:42




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Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 43 of 44 Page ID #:43




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Case 2:18-cv-04969-CBM-JEM Document 1 Filed 06/04/18 Page 44 of 44 Page ID #:44
